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                       EXHIBIT “A”
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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA

                                        CASE NO: 0-20-CV-61872-AHS

  ALAN DERSHOWITZ,

                       Plaintiff,

           v.

  CABLE NEWS NETWORK, INC.

                        Defendant.




                          DEFENDANT’S FIRST SET OF INTERROGATORIES

            Pursuant to Rule 33 of the Federal Rules of Civil Procedure, Defendant Cable News

   Network, Inc. (“CNN”) hereby requests that plaintiff Alan Dershowitz (“Plaintiff”) serve upon its

   counsel answers, in writing and under oath, to the following interrogatories within thirty (30) days

   of service hereof.

            These interrogatories shall be deemed continuing so as to require supplemental answers if

   new or different information is obtained by Plaintiff between the time the initial answers to these

   interrogatories are made and the time final judgment is entered in this action.

                                               DEFINITIONS

            1.        Any/All. The terms “any” or “all” shall be construed as “any and all.”

            2.        And/Or. The terms “and” and “or” also have the meaning “and/or.”

            3.        Communication.        The term “Communication” includes any type of

   correspondence (e.g., letters, electronic mail, instant messages, voicemail, memoranda, or any

   other document in any medium used to make or record communications), and any oral




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   conversation, interview, discussion, negotiation, agreement, understanding, meeting or telephone

   conversation, as well as every kind of written or graphic communication.

            4.        Complaint. The term “Complaint” means the Complaint filed by Plaintiff to

   commence this action.

            5.        Document. The term “Document” means any and every kind of printed, typed,

   recorded, written, graphic or photographic matter (including audiotape and/or videotape

   recordings), however printed, produced, reproduced, coded, or stored (including in electronic or

   digitized form), of any kind or description, whether sent or received or not, including originals,

   copies, reproductions, facsimiles, and drafts, regardless of their author or origin, however

   denominated. A draft or non-identical copy is a separate document for purposes of these requests.

            6.        Person. The term “Person” means all individuals and entities.

            7.        This Action. The phrase “this Action” means the action captioned on the first page

   of these interrogatories.

            8.        You/Your. The terms “You” and “Your” mean Plaintiff and any agents, attorneys,

   representatives, or other persons or entities acting for, on behalf of, or in concert with Plaintiff.

            9.        CNN. The term “CNN” means Cable News Network, Inc., defendant in this action,

   including any agents, attorneys, representatives, or other persons or entities acting for, on behalf

   of, or in concert with CNN.

            10.       Challenged Statements.       The phrase “Challenged Statements” means Joe

   Lockhart’s statement identified in Paragraph 13 of the Complaint as occurring at 7:11 p.m. on

   January 29, 2020, John Berman’s statement identified in Paragraph 13 of the Complaint as

   occurring at 6:17 a.m. on January 30, 2020, Paul Begala’s statement on CNN.com identified in

   Paragraph 13 of the Complaint as occurring at 9:11 p.m. on January 29, 2020, and the preceding


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   video clips of Plaintiff’s response to Senator Ted Cruz’s question as alleged in Paragraph 13 of the

   Complaint.

                                              INSTRUCTIONS

            1.        “Describe” or “identify,” when used with reference to an individual, means to state

   the individual’s name and present or, if that is not known, last known address, telephone number,

   email address, and occupation and employer.

            2.        “Describe” or “identify,” when used with reference to a document, means to state

   the name or title of the document, the type of document (e.g., letter, memorandum, chart, email

   message, etc.), its date, the person(s) who authored it, the person(s) who signed it, the person(s) to

   whom it was addressed, the person(s) to whom it was sent, its present location and its present

   custodian. If any such document was, but is no longer, in your possession or subject to your

   control, state what disposition was made of it and explain the circumstances surrounding such

   disposition, and state the date or approximate date thereof.

            3.        “Describe” or “identify,” when used with reference to any non-written

   communication, means to identify the person(s) making and receiving the communication and to

   state the date, manner, and place of communication and the substance of the communication.

            4.        Throughout these requests, the singular shall include the plural and the plural shall

   include the singular.

            5.        The following terms should be read as if they were synonymous, and each should

   be taken to include the meaning of all of the others: relating to, relating in any manner to,

   concerning, referring to, alluding to, responding to, in connection with, connected with, with

   respect to, commenting on, about, regarding, announcing, explaining, discussing, showing,

   describing, studying, reflecting, analyzing, establishing, supporting, refuting, or constituting.


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            6.        If you contend that it would be unreasonably burdensome to obtain and provide all

   the information called for in response to any interrogatory, you should:

                      (a)      set forth all information that is available without unreasonable burden; and

                      (b)      describe with particularity the efforts made to secure any information the

                               provision of which you claim would be an unreasonable burden.

            7.        If, in answering these interrogatories or any other discovery request, you encounter

   any vagueness or ambiguity in construing either the interrogatory or a definition or instruction

   relevant to the inquiry contained within the interrogatory, set forth the matter deemed vague or

   ambiguous and set forth the construction chosen or used in answering the interrogatory.

            8.        With respect to your responses to the following interrogatories, if any answer to an

   interrogatory is withheld because of a claim of privilege, please state the basis for your claim of

   privilege with respect to such information and the specific ground(s) on which the claim of

   privilege rests.

                                             INTERROGATORIES

            1.        For each element of damage that You claim in this Action, including but not limited

   to the injuries claimed at paragraphs 4, 13, 15, and 19 of the Complaint, describe with particularity

   all evidence you have to demonstrate or prove those damages, identify all documents describing

   or otherwise relating to those damages, and provide the names, addresses, and telephone numbers

   of any persons with knowledge of those damages.

            2.        For each element of damage that You claim in this Action, including but not limited

   to the injuries claimed at paragraphs 4, 13, 15, and 19 of the Complaint, identify separately and

   with specificity the complete nature of such injury, the amount of damage, and the method used to

   compute that amount.


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            3.        State each action that you have taken in order to mitigate any damage you allege in

   this Action and, for each such action, the amount of money expended.

            4.        Identify all medical and/or mental health appointments, treatments or consultations

   you have received during the relevant time period for any injury that you allege you have suffered

   as the result of conduct by the CNN alleged in this Action, and identify all documents relating

   thereto.

            5.        List the names and business addresses of all physicians, medical facilities, or other

   health care providers by whom or at which you have been examined or treated in the past 10 years;

   and state as to each the dates of examination or treatment and the condition or injury for which

   you were treated and identify all medications proscribed to you in connection with such

   examination or treatment, the dosages and the frequency with which you took or take such

   medication.

            6.        Identify all Persons or entities that have provided You with public relations or

   communications services, including but not limited to publicists, bookers, agents, managers, or

   representatives, from 2014 to the present.

            7.        Identify any non-party Person or entity that has provided or is providing financial

   support for this Action (including but not limited to payment of attorneys’ fees and costs) and/or

   that has a financial interest in the outcome of this Action.

            8.        Identify each and every instance of the alleged “ripple effect” of the Challenged

   Statements “throughout the entire media industry” as alleged in Paragraph 12 of the Complaint.

            9.        Identify every non-privileged communication relating to any of the Challenged

   Statements between you and any other person.




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            10.       Identify every person who you know – directly or indirectly – to have viewed or

   read any of the Challenged Statements.

            11.       Identify all lawsuits, investigations or other proceedings, whether criminal, civil,

   administrative, or otherwise, that you have participated as a party, non-party, intervenor, witness

   or any other role in the last ten years, and include the case number and court in which the case was

   brought or name of entity conducting the investigation.

            12.       Identify, specifying the relevant proceeding, every amount of damages you have

   claimed as a plaintiff in a legal proceeding.

            13.       Identify, specifying the relevant proceeding and the nature of its resolution, every

   amount of damages you have been awarded in judgment, and/or the amount of every monetary

   settlement you have received, in any legal proceeding.

            14.       Identify all “friends” you have “lost” or who have otherwise “shunned” you as a

   result of your defense of former President Trump (as you stated in the article “Larry David

   ‘screamed’ at Alan Dershowitz at grocery store over Trump ties,” published by The New York Post

   on August 18, 2021).

            15.       List each book, article, or other publication authored by You for which you have

   eared income from 2014 to the present, specifying the total amount of income you earned from

   each such book, article, or other publication.

            16.       List each appearance You have been invited to make, including but not limited to

   appearances in person, on Zoom or other video communication platforms, on television shows,

   radio shows, or podcasts from 2014 to the present, specifying the total amount you were paid for

   each appearance.




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            17.       List each award or honorary degree you have been awarded or offered from 2014

   to the present.

            18.       To the extent not identified in response to the preceding interrogatories, please list

   the names and addresses of all persons who are believed or known by you to have any knowledge

   concerning any issues in this Action; and specify the subject matter about which the witness has

   knowledge.

   Dated: New York, New York
          September 27, 2021


                                                         Respectfully Submitted,

                                                         /s/ Katherine M. Bolger
                                                         Katherine M. Bolger (admitted pro hac vice)
                                                         Amanda Levine (admitted pro hac vice)
                                                         DAVIS WRIGHT TREMAINE LLP
                                                         1251 Avenue of the Americas, 21st Floor
                                                         New York, NY 10020
                                                         Telephone: (212) 489-8230
                                                         katebolger@dwt.com
                                                         amandalevine@dwt.com

                                                         – and –

                                                         George S. LeMieux
                                                         (Florida Bar. No. 16403)
                                                         Eric C. Edison
                                                         (Florida Bar No. 010379)
                                                         GUNSTER, YOAKLEY & STEWART, P.A.
                                                         450 East Las Olas Boulevard, Suite 1400
                                                         Fort Lauderdale, Florida 33301
                                                         Telephone: (954) 462-2000
                                                         glemiuex@gunster.com
                                                         eedison@gunster.com

                                                         Attorneys for Defendant Cable News Network,
                                                         Inc.




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                                      CERTIFICATE OF SERVICE

            I hereby certify that on September 27, 2021 a true and correct copy of the foregoing was

   served via email on all counsel of record.

                                                        /s/ Katherine M. Bolger
                                                        Katherine M. Bolger




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